                                             Oobtd mn*      LMngscapes LLC

                                             u,rircd stabo Estlquprct Coun lor rhs: MitJdle Dbuict ot   Tonno$oo        El
                                                            3:20bk43561                                                                                             E   Cnecf if lhls is an
                                             Csso nurnbor
                                                                                                                                                                        armndsd ffllng




                                            Official Form 425C

                                            tlonthly Operatlng Report fior Small Buslness Under Ghapter                                                   {{                                   12/fl

                                            Month:                  Oc{ober                                                                 Date reporl liled:      fna2021
                                                                                                                                                                    MM       DD'YYYY




                     Case 3:20-bk-03561
                                                                                                                                                                         '
                                            Llne of business: Landscape Construction                                                        NAISC code:

                                            ln accordance wlth tltle 28, recllon 1740, ol the Unltod Stateg Code, I doclaro under penalty of perfury
                                            that I havt exemlned the iollowlng emall buslnera monthly operatlng rcpoil and the accompanylng
                                            attachmentr and, lo the best of my knowledge, these documsnts are true, corrocl, and complele.




                     Doc 120
                                            RosporEiblo pa.tF                             James

                                            Original slgnalure of                party
                                                                    'osponsiuo
                                            Printod namoof rosporrslde pady




Document
                                                            {. Quertlonnalre
                                                Ans*er a[ quesl'rons on behall of the dsbtor for the period covered by lhis reporl, unless olherwise indicated.
                                                                                                                                                                             Yor          No      l{rA
                                                      lf you anrwer     to   to any of the querUong ln llnes    l€,   attach an explanatlon and lebel n Exhtbn A.
                                                1. Dil the hdness oporate dudm lhe entire reporting pertod?                                                                  E            o       tr




             Page 1 of 31
                                                2. Do you plan to conlinue to oporate tho business next month?                                                               E            o       o
                                                3. Have )ou pakl all ol pur bills on time?                                                                                   E            o       tr
                                                4. Did tou pay your employree on time?                                                                                       g            o       o
                                                5. Haro yon deposited all tho rccaipts for your business into dobtor in possossioo (DlP) eccounts?                           g            o       o
                                                6. Have you timely filed )lour lax retums and pakl all ol your taxes?                                                        c!           o       tr
                                                7. Have 1ou timely 6led all other rcquired govemrnont Rlin$?                                                                 g            o       o
 Filed 12/07/21 Entered 12/07/21 15:17:26
                                                8. Aro you qrnont on your quarterly feo psymonts lo tho U.S. Trustoe or Bankruptcy Admlnistratoa                             ct           o       o
                                                9. Havo,ou lirnoly paid all of your lnsuranoe premhlms?                                                                      g            o       o
                                                      It
                                                10. Do pu hav6 any bank ecoounts open olher than the DIP acoountrs?                                                          o            el      o
                     Desc Main



                                                11. Have you sdd 8ny assots olher lhan inventory?                                                                            o            EI      o
                                                12. Have you sold or bansferrcd any ass€b or provlded sorvlcos to anyone rcl8ted to lho OIP ln 8ny way?                      o            g       B
                                                13. Dld any iourance cornpany cancol your policy?                                                                            o            E       o
                                                14. Dld you haw any unusual or sQnificant unanticipated ergenses?                                                            o            E       o
                                                15. Have you borotw<t money frorn anlono or has anyone made any paym€nts on llour behal?                                     o            E       o
                                                16. Has anyone made an investrnent in your business?                                                                         tr           g       o
                                            Ofiidal Fotm    425C                          Hon0ily Opontng Roport lor Small Buelnoor Undcr Chapter   l'l                           paglo   I
                                            Oobtor N釧 ,o   Livingscapes LLC                                                                Cnso   nt̲P3:20bk‐ 03561
                                                                                                                                                                                            ロ




                                                  17.Have you patt any b‖ ,s you owed berore yOu med ban血 Jptcy?
                                                                                                                                                                            □ □
                                                                                                                                                                                      □ □
                                                                                                                                                                                            ロ




                                                  18.Have you a‖ owed any dlecksto dearthe bankthat were issued bero『 e you nied bankttptげ




                                              ■■12.Summatt of Cash Actlvity for AII A∝ ounts
                                                19, To強 〕opening ba:ance of a‖ accoun脩
                                                                                                                                                                             3 611264,00
                                                      This a   Iount must equal what you reponed as the cash on hand at ule end Ofthe rnoRUlin the previous
                                                      month.lFthis is yOur arst repont reportthe totai cash on hand as orthe date orthe rl‖           ng Ofthis case.


                                                20.To的 i       cash receip樋
                                                                                                                      ilbil α indude a‖
                                                      Attach a lisung oF a‖ cash received『 or the rnonむ l and iabelit Exん




                     Case 3:20-bk-03561
                                                      cash receNed eVen if you have not deposited it atthe bank,coli(電 対ons on
                                                      rece帝 ables,credn caК 〕depOSitst cash received fro,n other pattes,orioans,ginst Or
                                                      payments made by other paRies on your behal『 .Do not attach bank statements in
                                                      lieu o『 Ex′ ,ibた   0
                                                                                      ,′
                                                      RepOrtthe totaifrom Ex′ 研r C here.                                                                  s 75,117.00




                     Doc 120
                                                21. Total cash di3burSemn脩
                                                     Attch a sSng or ali payments you ttlade in the month and iabelit gχ ん,D■ D.List the
                                                     date paidt payee,purpose,and amount.indude a‖ cash pattenい ,debit card
                                                     transactions,checks issued even ifthey have not deared the bankぅ outstanding
                                                     checks lssued berOre the bank『 uptcy was輛 led that were a‖ owed to dearthis monthi




Document
                                                     and payments『 viade by oher parties on your behal『 .Do not attach bank state:YlentS
                                                     in lieu of fx′ ,,研     ra                                                                           os 55]361.00
                                                     RepOn ule totaifrom Ex′ ,ilDil         D here.


                                               22. Net cash例       ow
                                                     SubttBd iine 21 from iine 20 and『
                                                                                                                                                                        +s19,756.00
                                                                                                epo鷲 the resuR here.
                                                     This amount may be difrerentttom what you may have calcuiaは 〕as,er p′ っЯ                 .




             Page 2 of 31
                                               23. Cash on hand atthe end orthe mOnth
                                                     Add line 22+,ine 19.RepOrtthe resun here.
                                                                                                                                                                        〓    $翌 些 望 聖 攣
                                                     Reportthis tture as he cas,,onん anJ arr′ ,oぅ。gilη ,中                       ,rん
                                                                                                                       orrヵ em。 ′     on your ne薫 opera∬ ng repo武   .




                                                     This arylountrnay not match your bank acoount balance because you may have oulstanding checks that
                                                     have not deared the bank or deposits in transit.




 Filed 12/07/21 Entered 12/07/21 15:17:26     ‐            &Unpdd団               ‖s

                                                     Attach a list or a‖
                                                                      debis(inciuding taxes)WhiCh you have incJ「 ed since the date you nled bank『 uptcy but
                                                     have not pa硝 .Labelit gχ ヵ,D″ g.include the date the debt was incured,whois owed the money,he
                                                     purpose ofthe debt,and when the debtis due.Rep。 武he totalttom fxん ね産E here.

                                               24. To的 ]payables                                                                                                            3
                     Desc Main




                                                            rfx′ ,ibir f,




                                            Ornぬ IFo「 ▼n42∝                                晴onth:y OpO贈 ung ReporefOr sma:I Bu8ine33 Under Chapter ll                        page 2
                                            DebioT Nam0   Livlngscapes LLC                                                                    Ca80   ru… 3:20bk‐ 03561


                                                          4.Money Owedto You
                                                    Attach a,Ist or ail anⅢ ounts owed to you by your ctistomers ror wOrk you have done or merchandise you
                                                    have sold.indude amounts owed to you both berore=and aner yOu lled bankruptcy. Latt it fx′                       ,,朗 ti
                                                    ldendfン who OWes      you nloney,how much ls owedt and when paymentis due.Reportthe to協                      ifrom
                                                    E幼 ′ ibir F here.

                                                25,Total receivables                                                                                                           s   54.962,00
                                                            rfχ んib打 F)




                                                          5.Employ∞ s
                                                                                                                                                                                             9




                     Case 3:20-bk-03561
                                               26.What was the number or employces when the case was nled?

                                               27.Whatis ule number oremp10yees as orむ le dale orthis mOnhiy report?
                                                                                                                                                                                            10




                     Doc 120
                                              ■■16.Professbnd                  F∝ s
                                               23.How much have you pald this month in pЮ ress10naifees reiated to ns hnkruptcy case?                                          $    1,000.00

                                               29.How much have you pald in prorettiOnalfees rdated to this bank『            uptcy case since the case was Fded?               3    8=521.00

                                               30.How much ttve you paid this        lonul ln Other pЮ ressiOnal rees?                                                         3        730,00




Document
                                               31.How much have you paidin totai oher pЮ          ttsslonai『ees sinoo S    ngむle case?                                         $    5=461.00




                                                          7.Projecuons

                                                    Compare your aduai cash receipts and disburseRlentS to what you proied(剤    in he prevbus「 lonth.




             Page 3 of 31
                                                    PrOied(刑 翻9ures in the nrst mOnth shouid match hose provided atthe inhiai debtorintettew・ r any.

                                                                                    Oo′   v,,,A                   Column a                             Co′ υm c
                                                                                    PrO〕 eCted                         Actuai                            Direrence

                                                                                    Copy   nes攀 37 from                Copy‖ no3      20・ 22 or          Subttct Coh,mnB
                                                                                    けlo p的 胡ot篤 ″Ionth・ s              this『 epOrt。                      rrOm cdumn A.
                                                                                    re,oft.
                                                                                                                                                     と

 Filed 12/07/21 Entered 12/07/21 15:17:26
                                               32. Ca8h ttCelpい                     $94,816.00                         3 75]117,00                       $   199699.00
                                                                                                                                                     B   s   ‐
                                                                                                                                                             5=121.00
                                               33. Cash dB3buttemen                 350,240.00                         3 55.361,00
                                                                                                                                                     B 324,906.00
                                               34. Net caBh例 叫                      144,662,00                         3 19,756.00

                                                                                                                                                                               3 75,117.00
                     Desc Main



                                               35.Tota,pЮ leded cash recelpts ttrthe ne鷲 阿ionul:

                                               36.Total proleded cash dttrsements fofthe next rlonth:                                                                         ̲$ 55,361,00
                                               37.Tota,pttnded net cash呵 ow『 orthe ne減 mЮ nul:
                                                                                                                                                                              =s 19,756.00




                                            0俯 dalFom     425C                      Monthiy Opettung Rep。 『t     to『   Sma‖ Busine88 UndO『 Chapte『 11                          四   e3
⁚       Ｔ       Ｆ■ 呂 ８ ８ ８ Ｆ ０                                   ｇ と 脇 博 屋 隠 Ｆ Ｉ Ｉ Ｉ Ｉ


                Ｐ を ａ Ｅ皇 二 Ｆ浄 至     肇ヨ

    ご       登 蕃 と 鼻 言 露      Ｏｇ 罫 豊      善 妻 こ ８ 亀 ″ 露 璽 ●ｇ Ξ 弄


    田       協ｉ 雪 吾 罫 夏 二 ︺
                         暉 ８３ Ｃ ︺召狸 塁 こ Ξ こ ｇ 言 Ｆ二 吾 ｒ 皇召彊 吾 雪 言 亭


    口       僻   冒昇 忌 量 産 ｇ Ｓ ３ 奪 ８ 予霊営 辞


    風       うＯ Ｊ 憂 邑 Ｅ ユ Ξ ３ 協 雪 ｒ 菫 ほ 意 ヨ ユ ０ 墨 室 重 ︶雪 百 Ｅ 耳 ｇ 豊 ュ


    ロ       と Ｌ晋曇 主 穏ｒ浄        ｑ 奪 屋 Ｘ 量登 Ｆ
                           ︐
    口       ゃ   Ｅ 冨   喜 ａ ｇ ｈ 憂 ５ 芭 雪 Ｅ 晏 番




ｉ       ｇ       磯                  鼠Ξ 尋 ９ こ こ Ｆ 互 奪 ｇ Ｂ Ｆ Ｉ Ｂ ｇ 蛋 葺 詈 ≧                    覆ＥＢら



        Case 3:20-bk-03561         Doc 120     Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                                              Document     Page 4 of 31
                                                                      Livingscapes Inc
                                                                     Transaction Report
                                                                             October 2021

                                                        Transacti
                                             Date        on Type                     Account                               Split                   Amount       Balance
Unapplied Cash Payment Income
                                          10/12/2021    Invoice     40100 Unapplied Cash Payment Income   -Split-                                     -150.00     -150.00
                                          10/12/2021    Invoice     40100 Unapplied Cash Payment Income   -Split-                                     -225.00     -375.00
                                          10/13/2021    Payment     40100 Unapplied Cash Payment Income   13500 Undeposited Funds                    1,889.00    1,514.00
                                          10/18/2021    Payment     40100 Unapplied Cash Payment Income   13500 Undeposited Funds                   39,995.61   41,509.61
Total for Unapplied Cash Payment Income                                                                                                        $    41,509.61
Uncategorized Income
                                          10/12/2021    Deposit     40200 Uncategorized Income            10107 Pinnacle Payroll *2655                900.00      900.00
Total for Uncategorized Income                                                                                                                 $      900.00
Sales of Product Income
                                          10/03/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)             108.00      108.00
                                          10/06/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)             250.00      358.00
                                          10/12/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)             300.00      658.00
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.06     658.06
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.10     658.16
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.07     658.23
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.00     658.23
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.02     658.25
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.00     658.25
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.00     658.25
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.01     658.26
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.01     658.27
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.03     658.30
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.01     658.31
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.03     658.34
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.00     658.34
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.00     658.34
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.04     658.38
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.09     658.47
                                          10/18/2021    Invoice     41000 Sales of Product Income         12000 Accounts Receivable (A/R)                0.03     658.50



                           Case 3:20-bk-03561          Doc 120     Filed 12/07/21 Entered 12/07/21 15:17:26                        Desc Main
                                                                  Document     Page 5 of 31
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.00     658.50
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.02     658.52
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.04     658.56
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.00     658.56
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.17     658.73
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.17     658.90
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.01     658.91
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.04     658.95
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.01     658.96
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.03     658.99
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.00     658.99
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.01     659.00
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.02     659.02
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.11     659.13
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.18     659.31
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.18     659.49
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.03     659.52
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.06     659.58
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.14     659.72
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.04     659.76
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.08     659.84
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.04     659.88
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.05     659.93
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.02     659.95
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.01     659.96
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.05     660.01
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.03     660.04
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.05     660.09
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.01     660.10
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.30     660.40
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.06     660.46
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.04     660.50
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.04     660.54
             10/18/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)       0.02     660.56
             10/26/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)     575.00    1,235.56
             10/26/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)    1,600.00   2,835.56




Case 3:20-bk-03561        Doc 120     Filed 12/07/21 Entered 12/07/21 15:17:26              Desc Main
                                     Document     Page 6 of 31
                                         10/27/2021    Invoice   41000 Sales of Product Income   12000 Accounts Receivable (A/R)         900.00     3,735.56
Total for Sales of Product Income                                                                                                   $   3,735.56
Services
                                         10/02/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         300.00      300.00
                                         10/02/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         625.00      925.00
                                         10/03/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         160.00     1,085.00
                                         10/03/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         120.00     1,205.00
                                         10/04/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         120.00     1,325.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         525.00     1,850.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         225.00     2,075.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         330.00     2,405.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         260.00     2,665.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         200.00     2,865.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         275.00     3,140.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         210.00     3,350.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         325.00     3,675.00
                                         10/05/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         160.00     3,835.00
                                         10/06/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         300.00     4,135.00
                                         10/06/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         425.00     4,560.00
                                         10/07/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)        1,140.00    5,700.00
                                         10/07/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         385.00     6,085.00
                                         10/11/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         408.29     6,493.29
                                         10/11/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         521.71     7,015.00
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         460.00     7,475.00
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         568.75     8,043.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)          90.00     8,133.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)          75.00     8,208.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         275.00     8,483.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         300.00     8,783.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         125.00     8,908.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         300.00     9,208.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         275.00     9,483.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         375.00     9,858.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         275.00    10,133.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         300.00    10,433.75
                                         10/12/2021    Invoice   42000 Services                  12000 Accounts Receivable (A/R)         315.00    10,748.75




                            Case 3:20-bk-03561        Doc 120     Filed 12/07/21 Entered 12/07/21 15:17:26              Desc Main
                                                                 Document     Page 7 of 31
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    275.00   11,023.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    300.00   11,323.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    275.00   11,598.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    375.00   11,973.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    150.00   12,123.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    260.00   12,383.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    245.00   12,628.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    435.00   13,063.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    600.00   13,663.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    160.00   13,823.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     68.18   13,891.93
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     81.82   13,973.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    100.58   14,074.33
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     31.10   14,105.43
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     31.11   14,136.54
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     31.10   14,167.64
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     31.11   14,198.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    450.00   14,648.75
             10/12/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    220.00   14,868.75
             10/13/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    100.00   14,968.75
             10/13/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    300.00   15,268.75
             10/13/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    200.00   15,468.75
             10/13/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    500.00   15,968.75
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      0.09   15,968.84
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    231.82   16,200.66
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      0.14   16,200.80
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      0.15   16,200.95
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      1.18   16,202.13
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      0.01   16,202.14
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      0.03   16,202.17
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    360.00   16,562.17
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    278.18   16,840.35
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      0.13   16,840.48
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    300.00   17,140.48
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    300.00   17,440.48
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      0.02   17,440.50




Case 3:20-bk-03561        Doc 120     Filed 12/07/21 Entered 12/07/21 15:17:26          Desc Main
                                     Document     Page 8 of 31
             10/18/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)       0.08    17,440.58
             10/21/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     220.00    17,660.58
             10/21/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     160.00    17,820.58
             10/22/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      50.00    17,870.58
             10/22/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     385.00    18,255.58
             10/22/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     200.00    18,455.58
             10/22/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      95.00    18,550.58
             10/25/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     220.00    18,770.58
             10/25/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     360.00    19,130.58
             10/25/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     300.00    19,430.58
             10/25/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     120.00    19,550.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     500.00    20,050.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     300.00    20,350.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     225.00    20,575.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     340.00    20,915.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     300.00    21,215.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      70.00    21,285.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     600.00    21,885.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     260.00    22,145.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     200.00    22,345.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     275.00    22,620.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     420.00    23,040.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     225.00    23,265.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     440.00    23,705.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)    1,800.00   25,505.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     200.00    25,705.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     200.00    25,905.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     150.00    26,055.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     150.00    26,205.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     340.00    26,545.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     120.00    26,665.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     225.00    26,890.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     180.00    27,070.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      90.00    27,160.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)      95.00    27,255.58
             10/26/2021    Invoice   42000 Services              12000 Accounts Receivable (A/R)     131.25    27,386.83




Case 3:20-bk-03561        Doc 120     Filed 12/07/21 Entered 12/07/21 15:17:26          Desc Main
                                     Document     Page 9 of 31
                                  10/26/2021    Invoice    42000 Services                                12000 Accounts Receivable (A/R)          220.00    27,606.83
                                  10/26/2021    Invoice    42000 Services                                12000 Accounts Receivable (A/R)          175.00    27,781.83
                                  10/26/2021    Invoice    42000 Services                                12000 Accounts Receivable (A/R)           80.00    27,861.83
                                  10/26/2021    Invoice    42000 Services                                12000 Accounts Receivable (A/R)          325.00    28,186.83
                                  10/27/2021    Invoice    42000 Services                                12000 Accounts Receivable (A/R)          150.00    28,336.83
                                  10/27/2021    Invoice    42000 Services                                12000 Accounts Receivable (A/R)          260.00    28,596.83
                                  10/27/2021    Invoice    42000 Services                                12000 Accounts Receivable (A/R)          375.00    28,971.83
Total for Services                                                                                                                          $   28,971.83
TOTAL                                                                                                                                       $   75,117.00




                                                   Monday, Nov 22, 2021 11:56:15 AM GMT-8 - Cash Basis




                     Case 3:20-bk-03561        Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26                                 Desc Main
                                                      Document    Page 10 of 31
                                                                                                                                        Livingscapes Inc
                                                                                                                                       Transaction Report
                                                                                                                                                October 2021

                                              Date                Name                                                                   Memo/Description                                                                         Account          Amount
Advertising & Marketing
                                           10/04/2021                             139 HUNTINGTON PL IN *SNARK MED 139 HUNTINGTON PL IN *SNARK MEDIA 615-6969119 TN 100121 Card#2282      60000 Advertising & Marketing                                 99.00
                                           10/04/2021   GOOGLE                    1600 Amphitheatre P GOOGLE GSUI 1600 Amphitheatre P GOOGLE GSUITE_ Mountain View CA 100221 Card#2282   60000 Advertising & Marketing                                  6.56
Total for Advertising & Marketing                                                                                                                                                                                                              $      105.56
CAR AND TRUCK
 Auto Repair
                                           10/19/2021   JAMES ELAM                Check 1044 Check                                                                                       60130 CAR AND TRUCK:Auto Repair                              400.00
                                           10/20/2021                             5714 CHARLOTTE PIKE O'REILLY AU 5714 CHARLOTTE PIKE O'REILLY AUTO P NASHVILLE TN 101921 Card#2282      60130 CAR AND TRUCK:Auto Repair                              425.85
                                           10/27/2021   Crocker                   Check 1048 Check                                                                                       60130 CAR AND TRUCK:Auto Repair                             2,400.00
 Total for Auto Repair                                                                                                                                                                                                                         $     3,225.85
Total for CAR AND TRUCK                                                                                                                                                                                                                        $     3,225.85
Bank Charges & Fees
                                           10/01/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                      1.00
                                           10/03/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                      9.25
                                           10/04/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                      5.08
                                           10/04/2021   QuickBooks Payments       INTUIT 24332715 TRAN FEE 524771 INTUIT 24332715 TRAN FEE 524771992494446 9215986202 LIVINGSCAPES INC   60200 Bank Charges & Fees                                      1.00
                                           10/05/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                      5.35
                                           10/06/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                      2.50
                                           10/07/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                     10.00
                                           10/12/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                     96.59
                                           10/13/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                     34.75
                                           10/13/2021                             Paid Item Fee                                                                                          60200 Bank Charges & Fees                                     38.00
                                           10/15/2021   QuickBooks Payments       2535 Garcia Ave INTUIT *QuickBo 2535 Garcia Ave INTUIT *QuickBo CL.INTUIT.COM CA 101421 Card#2282      60200 Bank Charges & Fees                                     87.40
                                           10/15/2021                             Paid Item Fee                                                                                          60200 Bank Charges & Fees                                     38.00
                                           10/18/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                      3.60
                                           10/22/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                     11.10
                                           10/25/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                     10.00
                                           10/25/2021                             Paid Item Fee                                                                                          60200 Bank Charges & Fees                                     38.00
                                           10/25/2021                             Paid Item Fee                                                                                          60200 Bank Charges & Fees                                     38.00
                                           10/26/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                      8.00
                                           10/26/2021                             Returned Item Fee                                                                                      60200 Bank Charges & Fees                                     38.00
                                           10/26/2021                             Reverse NSF Item Fee                                                                                   60200 Bank Charges & Fees                                     -38.00
                                           10/27/2021   QuickBooks Payments       System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.               60200 Bank Charges & Fees                                     14.10
                                           10/29/2021                             Service Charge                                                                                         60200 Bank Charges & Fees                                      9.80
Total for Bank Charges & Fees                                                                                                                                                                                                                  $      461.52
INSURANCE
 General Liability Insurance
                                           10/04/2021   Penn National Insurance   PENN NATIONAL IN RECUR PMTS 310 PENN NATIONAL IN RECUR PMTS 3100193796 C230961349 LIVINGSCAPES INC     61110 INSURANCE:General Liability Insurance                  181.50
 Total for General Liability Insurance                                                                                                                                                                                                         $      181.50
 Medical / Health Insurance
                                           10/01/2021   Farm Bureau               FB HEALTH PLANS MONTHLY 1620450 FB HEALTH PLANS MONTHLY 1620450581 JAMES W LIVINGSTON                  61170 INSURANCE:Medical / Health Insurance                    74.75
                                           10/06/2021   Cigna                     6700 LAKEVIEW DRIVE CIGNA 877 4 6700 LAKEVIEW DRIVE CIGNA 877 484 5 8774845967 FL 100521 Card#2282     61170 INSURANCE:Medical / Health Insurance                  1,061.94
 Total for Medical / Health Insurance                                                                                                                                                                                                          $     1,136.69
Total for INSURANCE                                                                                                                                                                                                                            $     1,318.19
MEALS AND ENTERTAINMENT
 Meals - Officers Only
                                           10/25/2021   MCDONALD'S                MCDONALD'S F1420 HURRICANE MIL MCDONALD'S F1420 HURRICANE MIL TN 13121 579723 Card#2282                61420 MEALS AND ENTERTAINMENT:Meals - Officers Only           49.79
                                           10/29/2021   DOMINO'S PIZZA            5631 CHARLOTTE PIKE DOMINO'S 54 5631 CHARLOTTE PIKE DOMINO'S 5411 NASHVILLE TN 102821 Card#2282        61420 MEALS AND ENTERTAINMENT:Meals - Officers Only           43.65
 Total for Meals - Officers Only                                                                                                                                                                                                               $       93.44
Total for MEALS AND ENTERTAINMENT                                                                                                                                                                                                              $       93.44
Office Expenses
                                           10/04/2021   AMAZON                    440 Terry Ave N AMZN Mktp US*2C 440 Terry Ave N AMZN Mktp US*2C Amzn.combill WA 100121 Card#2282       61600 Office Expenses                                         19.65
                                           10/06/2021   AMAZON                    440 Terry Ave N Amazon.com*279K 440 Terry Ave N Amazon.com*279K Amzn.combill WA 100621 Card#2282       61600 Office Expenses                                         40.29
                                           10/08/2021   AMAZON                    440 Terry Ave N Amazon.com*277Z 440 Terry Ave N Amazon.com*277Z Amzn.combill WA 100721 Card#2282       61600 Office Expenses                                         19.64
                                           10/20/2021   AMAZON                    440 Terry Ave N AMZN Mktp US*2Y 440 Terry Ave N AMZN Mktp US*2Y Amzn.combill WA 101921 Card#2282       61600 Office Expenses                                         14.18
Total for Office Expenses                                                                                                                                                                                                                      $       93.76
Office Supplies & Software
                                           10/12/2021                             182 Howard Street ROCKETLAW 877 182 Howard Street ROCKETLAW 877-7 8778810947 CA 101121 Card#2282       61700 Office Supplies & Software                              39.99
                                           10/27/2021   Computer Revolution       6341 CHARLOTTE PIKE COMPUTER RE 6341 CHARLOTTE PIKE COMPUTER REVOLU NASHVILLE TN 102521 Card#2282      61700 Office Supplies & Software                              87.76
Total for Office Supplies & Software                                                                                                                                                                                                           $      127.75




                                         Case 3:20-bk-03561                                   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26                                                                              Desc Main
                                                                                                     Document    Page 11 of 31
LEGAL AND PROFESSIONAL SERVICES
  Accounting & Administrative
                                               10/13/2021   Out of the Box Technology     OUT OF THE BOX T SALE 921598620 OUT OF THE BOX T SALE 9215986202 JAMES LIVINGSTON                      62010 LEGAL AND PROFESSIONAL SERVICES:Accounting & Administrative        730.50
  Total for Accounting & Administrative                                                                                                                                                                                                                              $    730.50
Total for LEGAL AND PROFESSIONAL SERVICES                                                                                                                                                                                                                            $    730.50
Shipping, Freight & Delivery
                                               10/28/2021                                 205 E Riverside Dr USHIP.COM* I 205 E Riverside Dr USHIP.COM* ID43 AUSTIN TX 102721 Card#2282          62100 Shipping, Freight & Delivery                                       627.50
Total for Shipping, Freight & Delivery                                                                                                                                                                                                                               $    627.50
Rent & Lease (Buildings)
                                               10/07/2021   Trendex Group LLC             Check 1047 Check                                                                                       62200 Rent & Lease (Buildings)                                          1,500.00
                                               10/14/2021   MOBILE MINI                   MOBILE MINI 8004561751 18607483 MOBILE MINI 8004561751 1860748362 JAMES LIVINGSTON                     62200 Rent & Lease (Buildings)                                           121.79
                                               10/19/2021   MOBILE MINI                   MOBILE MINI 8004561751 18607483 MOBILE MINI 8004561751 1860748362 JAMES LIVINGSTON                     62200 Rent & Lease (Buildings)                                           163.92
                                               10/21/2021   MOBILE MINI                   MOBILE MINI 8004561751 18607483 MOBILE MINI 8004561751 1860748362 JAMES LIVINGSTON                     62200 Rent & Lease (Buildings)                                           153.67
                                               10/25/2021   MOBILE MINI                   MOBILE MINI 8004561751 18607483 MOBILE MINI 8004561751 1860748362 JAMES LIVINGSTON                     62200 Rent & Lease (Buildings)                                           240.35
                                               10/25/2021   MOBILE MINI                   MOBILE MINI 8004561751 18607483 MOBILE MINI 8004561751 1860748362 JAMES LIVINGSTON                     62200 Rent & Lease (Buildings)                                           240.35
Total for Rent & Lease (Buildings)                                                                                                                                                                                                                                   $   2,420.08
Repairs & Maintenance
                                                            O'Reilly Automotive Stores,
                                               10/08/2021   Inc.                          5714 CHARLOTTE PIKE O'REILLY AU 5714 CHARLOTTE PIKE O'REILLY AUTO P NASHVILLE TN 12521 Card#2282       62400 Repairs & Maintenance                                               40.94
                                                            O'Reilly Automotive Stores,
                                               10/08/2021   Inc.                          5714 CHARLOTTE PIKE O'REILLY AU 5714 CHARLOTTE PIKE O'REILLY AUTO P NASHVILLE TN 12521 Card#2282       62400 Repairs & Maintenance                                               39.18
                                                            O'Reilly Automotive Stores,
                                               10/08/2021   Inc.                          5714 CHARLOTTE PIKE O'REILLY AU 5714 CHARLOTTE PIKE O'REILLY AUTO P NASHVILLE TN 12521 Card#2282       62400 Repairs & Maintenance                                              137.72
Total for Repairs & Maintenance                                                                                                                                                                                                                                      $    217.84
Materials & Supplies
                                               10/04/2021   LIVING EARTH                  6401 CENTENNIAL BLV LIVING EART 6401 CENTENNIAL BLV LIVING EARTH CE NASHVILLE TN                       62500 Materials & Supplies                                                32.00
                                               10/04/2021                                 872 Pinnacle Hill R SQ *THRIVE 872 Pinnacle Hill R SQ *THRIVE GARD Kingston Spri TN 100221 Card#2282   62500 Materials & Supplies                                                49.16
                                               10/14/2021                                 150 BRIDGEPOINT DR CHEROKEE MAN 150 BRIDGEPOINT DR CHEROKEE MANUFA 651-451-6568 MN 101321 Card#2282    62500 Materials & Supplies                                              1,655.05
Total for Materials & Supplies                                                                                                                                                                                                                                       $   1,736.21
TELEPHONE AND INTERNET
                                               10/18/2021   Verizon                       899 Heathrow Park Ln VZWRLSS*MY 899 Heathrow Park Ln VZWRLSS*MY VZ V 800-922-0204 FL 12621 Card#2282   62600 TELEPHONE AND INTERNET                                             128.10
  Total for TELEPHONE AND INTERNET                                                                                                                                                                                                                                   $    128.10
  Cell Phone
                                               10/12/2021   AT&T                          211 S AKARD RM 1210 ATT*BILL PA 211 S AKARD RM 1210 ATT*BILL PAYMEN 800-288-2020 TX 101021 Card#2282   62620 TELEPHONE AND INTERNET:Cell Phone                                   80.25
  Total for Cell Phone                                                                                                                                                                                                                                               $     80.25
Total for TELEPHONE AND INTERNET with subs                                                                                                                                                                                                                           $    208.35
TRAVEL
  Taxi - Bus - Uber - Lyft
                                               10/12/2021   Lyft                          185 BERRY ST STE 50 LYFT 1 RIDE 185 BERRY ST STE 50 LYFT 1 RIDE 1 8558659553 CA 100921 Card#2282       62860 TRAVEL:Taxi - Bus - Uber - Lyft                                     40.99
                                               10/28/2021   Lyft                          185 BERRY STREET LYFT *1 RIDE 8 185 BERRY STREET LYFT *1 RIDE 855-865-9553 CA 102821 Card#2282         62860 TRAVEL:Taxi - Bus - Uber - Lyft                                     46.81
  Total for Taxi - Bus - Uber - Lyft                                                                                                                                                                                                                                 $     87.80
Total for TRAVEL                                                                                                                                                                                                                                                     $     87.80
Utilities
                                               10/05/2021   NES Power                     NES POWER UTILITY 7041 S JAMES NES POWER UTILITY 7041 S JAMES LIVINGSTON                               63100 Utilities                                                          118.27
                                               10/15/2021                                 L2G METRO WATER 6158624600 7916 L2G METRO WATER 6158624600 79161 S JAMES LIVINGSTON                    63100 Utilities                                                         1,629.97
Total for Utilities                                                                                                                                                                                                                                                  $   1,748.24
PERSONNEL EXPENSES
  Contractors
                                               10/01/2021   PEDRO Guadrrama               Check 181 Check                                                                                        60600 PERSONNEL EXPENSES:Contractors                                     929.12
                                               10/01/2021   ABRAham DeLa cruz             Check 180 Check                                                                                        60600 PERSONNEL EXPENSES:Contractors                                     763.60
                                               10/01/2021   Adalberto Ajualip Tista       Check 182 Check                                                                                        60600 PERSONNEL EXPENSES:Contractors                                     831.64
                                               10/04/2021   Domingo C. Rodriguez          Check 106722655 Check                                                                                  60600 PERSONNEL EXPENSES:Contractors                                     844.81
                                               10/05/2021   Danilla Orellana              Check 178 Check                                                                                        60600 PERSONNEL EXPENSES:Contractors                                     750.75
                                               10/05/2021   XXFranklin Maradiaga          Check 179 Check                                                                                        60600 PERSONNEL EXPENSES:Contractors                                     773.67
                                               10/12/2021   ABRAham DeLa cruz             Check 20361 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     494.30
                                               10/12/2021   Adalberto Ajualip Tista       Check 20359 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     545.18
                                               10/12/2021   PEDRO Guadrrama               Check 20360 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     730.99
                                               10/13/2021   Danilla Orellana              Check 20363 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     539.32
                                               10/13/2021   Domingo C. Rodriguez          Check 20364 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     556.49
                                               10/13/2021   Franklin Maradiaga            Check 20362 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     559.93
                                               10/15/2021   XXFranklin Maradiaga          Check 20368 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     759.94
                                               10/15/2021   ABRAham DeLa cruz             Check 20367 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     610.44
                                               10/15/2021   PEDRO Guadrrama               Check 20366 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     713.70
                                               10/18/2021   Domingo C. Rodriguez          Check 20370 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     748.41
                                               10/19/2021   Danilla Orellana              Check 20369 Check                                                                                      60600 PERSONNEL EXPENSES:Contractors                                     737.52
                                               10/25/2021   Adalberto Ajualip Tista       Check 186 Check                                                                                        60600 PERSONNEL EXPENSES:Contractors                                     676.25
                                               10/25/2021   PEDRO Guadrrama               Check 188 Check                                                                                        60600 PERSONNEL EXPENSES:Contractors                                     730.98




                                             Case 3:20-bk-03561                                       Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26                                                                                Desc Main
                                                                                                             Document    Page 12 of 31
                                              10/25/2021   ABRAham DeLa cruz         Check 185 Check                                                                                    60600 PERSONNEL EXPENSES:Contractors                                             581.23
                                              10/25/2021   Adalberto Ajualip Tista   Check 20365 Check                                                                                  60600 PERSONNEL EXPENSES:Contractors                                             730.88
                                              10/26/2021   XXFranklin Maradiaga      Check 189 Check                                                                                    60600 PERSONNEL EXPENSES:Contractors                                             686.38
                                              10/26/2021   Danilla Orellana          Check 183 Check                                                                                    60600 PERSONNEL EXPENSES:Contractors                                             666.55
                                              10/26/2021   Cardenas                  Check 187 Check                                                                                    60600 PERSONNEL EXPENSES:Contractors                                             722.64
                                              10/28/2021   Domingo C. Rodriguez      Check 190 Check                                                                                    60600 PERSONNEL EXPENSES:Contractors                                             650.67
                                              10/29/2021   ABRAham DeLa cruz         Check 20373 Check                                                                                  60600 PERSONNEL EXPENSES:Contractors                                             815.02
 Total for Contractors                                                                                                                                                                                                                                             $   18,150.41
 SALARIES AND WAGES
   Wages (Hourly) - Regular Pay
                                              10/01/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        3,037.99
                                              10/01/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay         105.50
                                              10/01/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        2,050.59
                                              10/08/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        1,331.02
                                              10/08/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay          80.50
                                              10/08/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        2,612.95
                                              10/15/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay          80.50
                                              10/15/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        1,793.92
                                              10/15/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        3,128.58
                                              10/26/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        1,310.77
                                              10/26/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        1,613.45
                                              10/26/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay          80.50
                                              10/29/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        3,007.74
                                              10/29/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay        1,919.79
                                              10/29/2021   Heartland Payroll         190AWWV LIVINGS PAYROLL 190AWWV 190AWWV LIVINGS PAYROLL 190AWWV 1582663830 LIVINGSCAPES            63221 PERSONNEL EXPENSES:SALARIES AND WAGES:Wages (Hourly) - Regular Pay          80.50
   Total for Wages (Hourly) - Regular Pay                                                                                                                                                                                                                          $   22,234.30
 Total for SALARIES AND WAGES                                                                                                                                                                                                                                      $   22,234.30
Total for PERSONNEL EXPENSES                                                                                                                                                                                                                                       $   40,384.71
Dump & Waste Management
                                              10/04/2021   LIVING EARTH              6401 CENTENNIAL BLV LIVING EART 6401 CENTENNIAL BLV LIVING EARTH CE NASHVILLE TN                   67010 Dump & Waste Management                                                     32.00
                                              10/07/2021   Waste Management          WASTE MANAGEMENT INTERNET 90490 WASTE MANAGEMENT INTERNET 9049038216 S LIVINGSTON JAMES            67010 Dump & Waste Management                                                    201.26
                                              10/12/2021   LIVING EARTH              6401 CENTENNIAL BLV LIVING EART 6401 CENTENNIAL BLV LIVING EARTH CE NASHVILLE TN 51421 Card#2282   67010 Dump & Waste Management                                                     32.00
                                              10/14/2021   LIVING EARTH              6401 CENTENNIAL BLV LIVING EART 6401 CENTENNIAL BLV LIVING EARTH CE NASHVILLE TN 51421 Card#2282   67010 Dump & Waste Management                                                     32.00
                                              10/18/2021   LIVING EARTH              6401 CENTENNIAL BLV LIVING EART 6401 CENTENNIAL BLV LIVING EARTH CE NASHVILLE TN 51421 Card#2282   67010 Dump & Waste Management                                                     32.00
                                              10/22/2021   Waste Management          4651 AMY LYNN DR SOUTHERN SERVI 4651 AMY LYNN DR SOUTHERN SERVIC NASHVILLE TN 102121 Card#2282     67010 Dump & Waste Management                                                    413.18
                                              10/25/2021   LIVING EARTH              6401 CENTENNIAL BLV LIVING EART 6401 CENTENNIAL BLV LIVING EARTH CE NASHVILLE TN 51421 Card#2282   67010 Dump & Waste Management                                                     32.00
Total for Dump & Waste Management                                                                                                                                                                                                                                  $     774.44
Uncategorized Expense
                                              10/25/2021   Robert H Waldschmidt      Check 1045 Check                                                                                   69000 Uncategorized Expense                                                     1,000.00
Total for Uncategorized Expense                                                                                                                                                                                                                                    $    1,000.00
TOTAL                                                                                                                                                                                                                                                              $   55,361.74




                                                                                                                          Monday, Nov 22, 2021 11:45:58 AM GMT-8 - Cash Basis




                                            Case 3:20-bk-03561                                  Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26                                                                        Desc Main
                                                                                                       Document    Page 13 of 31
                         Livingscapes Inc
                        A/R Aging Summary
                          As of November 22, 2021

                                                                      91 and
                     Current      1 - 30      31 - 60     61 - 90      over       Total
      A/M                            -30.95       62.41                              31.46
      A/M               130.00                                                      130.00
      A/M               770.00                                                      770.00
      A/M               701.25                   362.86                            1,064.11
      A/M              1,100.00                                                    1,100.00
      A/M               385.00                                                      385.00
      A/M                         2,774.74                                         2,774.74
      A/M             12,769.50   2,329.18                                        15,098.68
      A/M                                        671.48                             671.48
      A/M                            91.47                   272.99     272.08      636.54
      A/M               783.00                                                      783.00
      A/M                                                               358.66      358.66
      A/M              1,055.00                                                    1,055.00
      A/M               580.00                                                      580.00
      A/M               365.00                                                      365.00
      A/M                                                               -471.25     -471.25
      A/M               675.00                                                      675.00
      A/M               385.00                                                      385.00
      A/M               125.00                                                      125.00
      A/M               975.00                   506.19      708.73                2,189.92
      A/M               902.50                                                      902.50
      A/M               135.00      284.59       291.96                             711.55
      A/M                                                               265.00      265.00
      A/M              1,350.00                                                    1,350.00
      A/M                                                                 -1.34       -1.34
      A/M              1,165.00                                                    1,165.00
      A/M               761.25                                                      761.25
      A/M               160.00                                                      160.00
      A/M               875.00                                                      875.00
      A/M              1,985.00                                                    1,985.00
      A/M               175.00                                                      175.00
      A/M                                                               425.50      425.50
      A/M              1,395.00                                                    1,395.00
      A/M               800.00                                                      800.00
      A/M                                        400.00                             400.00
      A/M               450.00                                                      450.00
      A/M                                                     73.50      75.00      148.50
      A/M               120.00                                                      120.00
      A/M               310.00      426.88                                          736.88
      A/M               328.75      481.52       442.92                 468.23     1,721.42




Case 3:20-bk-03561     Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26                       Desc Main
                              Document    Page 14 of 31
        A/M                                       418.37                                 418.37
        A/M                          1,135.00                                           1,135.00
        A/M                335.00                                                        335.00
        A/M                 50.00                                                          50.00
        A/M                750.00                                                        750.00
        A/M               1,415.00     802.95     950.39                                3,168.34
        A/M                130.00      193.11                                            323.11
        A/M                555.00                                                        555.00
        A/M                165.00                                                        165.00
        A/M               1,145.00                                                      1,145.00
        A/M                                                  2,656.42      931.54       3,587.96
        A/M                                        72.32                      3.61         75.93
TOTAL                  $ 36,256.25 $ 8,488.49 $ 4,178.90 $ 3,711.64     $ 2,327.03   $ 54,962.31




                        Monday, Nov 22, 2021 12:01:26 PM GMT-8




  Case 3:20-bk-03561     Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26                          Desc Main
                                Document    Page 15 of 31
                                                     Livingscapes Inc
                                                          Profit and Loss
                                                            October 2021


                                                                                                             TOTAL
Income
 40100 Unapplied Cash Payment Income                                                                    41,509.61
 40200 Uncategorized Income                                                                                  900.00
 41000 Sales of Product Income                                                                              3,735.56
 42000 Services                                                                                         28,971.83
Total Income                                                                                           $75,117.00
Cost of Goods Sold
 50000 Cost of Goods Sold                                                                                   8,114.13
Total Cost of Goods Sold                                                                                $8,114.13
GROSS PROFIT                                                                                           $67,002.87
Expenses
 60000 Advertising & Marketing                                                                               105.56
 60100 CAR AND TRUCK
  60130 Auto Repair                                                                                         3,225.85
 Total 60100 CAR AND TRUCK                                                                                  3,225.85
 60200 Bank Charges & Fees                                                                                   461.52
 61100 INSURANCE
  61110 General Liability Insurance                                                                          181.50
  61170 Medical / Health Insurance                                                                          1,136.69
 Total 61100 INSURANCE                                                                                      1,318.19
 61400 MEALS AND ENTERTAINMENT
  61420 Meals - Officers Only                                                                                 93.44
 Total 61400 MEALS AND ENTERTAINMENT                                                                          93.44
 61600 Office Expenses                                                                                        93.76
 61700 Office Supplies & Software                                                                            127.75
 62000 LEGAL AND PROFESSIONAL SERVICES
  62010 Accounting & Administrative                                                                          730.50
 Total 62000 LEGAL AND PROFESSIONAL SERVICES                                                                 730.50
 62100 Shipping, Freight & Delivery                                                                          627.50
 62200 Rent & Lease (Buildings)                                                                             2,420.08
 62400 Repairs & Maintenance                                                                                 217.84
 62500 Materials & Supplies                                                                                 1,736.21
 62600 TELEPHONE AND INTERNET                                                                                128.10
  62620 Cell Phone                                                                                            80.25
 Total 62600 TELEPHONE AND INTERNET                                                                          208.35
 62800 TRAVEL
  62860 Taxi - Bus - Uber - Lyft                                                                              87.80
 Total 62800 TRAVEL                                                                                           87.80
 63100 Utilities                                                                                            1,748.24




         Case 3:20-bk-03561           Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26          Desc Main
                                      Cash Basis Monday, November 22, 2021 02:12 PM GMT-06:00                   1/2
                                             Document    Page 16 of 31
                                                 Livingscapes Inc
                                                      Profit and Loss
                                                        October 2021


                                                                                                         TOTAL
 63200 PERSONNEL EXPENSES
  60600 Contractors                                                                                 18,150.41
  63210 SALARIES AND WAGES
  63221 Wages (Hourly) - Regular Pay                                                                22,234.30
  Total 63210 SALARIES AND WAGES                                                                    22,234.30
 Total 63200 PERSONNEL EXPENSES                                                                     40,384.71
 67010 Dump & Waste Management                                                                           774.44
 69000 Uncategorized Expense                                                                            1,000.00
Total Expenses                                                                                     $55,361.74
NET OPERATING INCOME                                                                               $11,641.13
Other Income
 49902 Late Fee Income                                                                                    67.42
Total Other Income                                                                                       $67.42
NET OTHER INCOME                                                                                         $67.42
NET INCOME                                                                                         $11,708.55




        Case 3:20-bk-03561         Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26         Desc Main
                                  Cash Basis Monday, November 22, 2021 02:12 PM GMT-06:00                   2/2
                                          Document    Page 17 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 18 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 19 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 20 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 21 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 22 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 23 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 24 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 25 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 26 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 27 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 28 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 29 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 30 of 31
Case 3:20-bk-03561   Doc 120 Filed 12/07/21 Entered 12/07/21 15:17:26   Desc Main
                            Document    Page 31 of 31
